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                     Exhibit 2
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         B   0    I E S,         S   C H I L L E R                 &    F L     E X N E R                 L L P
401 EAST LAS OLAS BOULEVARD• SUITE 1200 •FORT LAUDERDALE, FL 33301          221 •PH. 954 .356 00 I • FAX 954.356.0022


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                                                                                         Meredith Schultz, Esq.
                                                                                  E-mail: mschultz@bsfllp.com



                                                    May 20, 2016


        VIA E-MAIL

        Jeffrey Pagliuca, ESQ.
        HADDON, MORGAN AND FOREMAN,          P.C.
        150 East 10th Avenue
        Denver, Colorado 80203

                 Re:    Giuffre v. Maxwell
                        Case No. 15-cv-07433-RWS

        Dear Jeffrey:

                You have stated that there is "likely" no good faith basis for keeping the details of the
        rape of a 14 year old girl, and the reactions of Ms. Giuffre' s minor children to domestic violence,
        outside of the public realm. See May 18, 2016 letter from J. Pagliuca ("Your email does not
        provide any good faith basis for the [confidentiality] assertion, likely because there is none."). I
        disagree.

               Your latest produc6on includes a police report detailing the rape of a 14 year old child,
        my client. Other materials you produced include police records concerning my client while she
        was a minor child, and police records showing my client as a victim of domestic abuse, which
        include descriptions of her minor children.

               As far as my good faith basis for designating the remainder of your production
        confidential, I have several.

                First, Florida statutes protect "[a]ny information in a videotaped statement of a minor
        who is alleged to be or who is a victim of sexual battery ... which reveals that minor' s identity."
        Fla. Stat.§ 119.071. Additionally, Fla. Stat. 985.036 protects records where ajuvenile is a
        victim of a crime.

                Section 794.026, Fla. Stat. , creates a civil right of action against an individual who
        communicates to others, identifying information concerning the victim of a sexual offense.
        Please identify all individuals with whom you have shared this police report.




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        Second, Fla. Stat. § 985 .04 and Fla. Stat. § 985.054 make juvenile law enforcement
records confidential from members of the public, and states that information obtained by a law
enforcement agent participating in the assessment of a juvenile is confidential. These statutes
apply to the police reports involving Ms. Giuffre as a juvenile.

        Additionally, certain of the police reports implicate Ms. Giuffre's involvement with the
Florida Department of Children and Families, see e.g., GM_ 00750, and if such reports are part
of the State's Department of Children and Families' records, they are confidential pursuant to
Fla. Stat. § 39.202(6).

        Moreover, all records concerning Ms. Giuffre as a juvenile should be treated as
confidential under the Protective Order because they concern a minor child, and therefore, are of
a sensitive nature.

        Third, police reports concerning Ms. Giuffre as a victim of domestic abuse that also
describe her minor children are confidential. This confidentiality is to protect the identity of Ms.
Giuffre's minor children, and to protect Ms. Giuffre's privacy interests which are naturally
implicated in the potential release of domestic violence records. Colorado statutes recognize and
protect the privacy of domestic violence victims, see, e.g. , CRS § 13-90-107(k), and maintaining
the confidentiality of these records naturally protect Ms. Giuffre's privacy interests.

        Additionally, access to law enforcement records involving juveniles is protected by
C.R.S. 19-1-301, et. seq., as "[t]he disclosure of sensitive information carries the risk of
stigmatizing children." C.R.S. 19-1-302. Accordingly, Colorado law protects from disclosures
police reports concerning Ms. Giuffre's minor children, particularly, in situations like the one at
hand, when such disclosure would stigmatize Ms. Giuffre's minor children.

       Fourth, the police reports that show photographs of Ms. Giuffre's former home also
implicate her privacy interests, and therefore should remain outside of the public realm.

        Fifth, police records concerning alleged crimes committed by Ms. Giuffre as an adult are
not in the public realm, and Ms. Giuffre has never been convicted of a crime. Accordingly, such
police reports should be confidential as they naturally implicate her privacy interests, and
wrongfully suggest she was involved in a crime.

        Having had an opportunity to make a closer review of your production, I hereby de-
designate GM_0084 I through GM_00984, documents describing my client with a slur for female
genitalia, as they appear to represent an article sourced from the internet.
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       By this letter, I am also seeking your good faith basis for labeling your client's many
commw1ications with Jeffrey Epstein as confidential, including what common law and statutory
privacy interests they implicate.


                                                   Sincerely,




                                                   Meredith Schultz


MS/ep
